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IN THE UNITED STATES DISTRICT COURT
FOR THE M]DDLE DISTRICT OF PENNSYLVANIA
CIVIL ACTION - LAW

CRYSTAL FRY and ANDREW FRY, : DoCKET NUMBER:
Individually and as the '

Administrators of the Estate of

JADE ELIZABETH FRY

PLAINTIFFS
Vs.
PRoFEssIoNAL MEDICAL NEGLIGENCE
THE UNITED STATES oF AMERICA,

DEFENDANT : JURY TRiAL DEMANDED

 

COMPLAINT

 

l!URISDICTI()N
l. This action arises under the Federal Tort Claims Act (“FTCA”), 28 U.S.C.A. §§ 2671 et

seq. This court is vested With jurisdiction pursuant to 28 U.S.C.A. § 1346(b).
2. Plaintiffs reside in the above-entitled judicial district The acts and omissions complained

of in this complaint occurred Within the Middle District of Pennsylvania.

THE PARTIES

3. Jade Elizabeth Fry, a minor, Was born on August 31, 2014, at 3:25am in the

Chambersburg Hospital, Chambersburg, Franl<lin County, Pennsylvania.

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4. Jade survived approximately seven (7) hours and died at 10:42a1n on August 31, 2014.

5. Crystal and Andrew Fry are competent adult individuals residing in Shippensburg,
Franklin County, Pennsylvania.

6. As Jade Elizabeth Fry’s biological parents and the Administrators of Jade’s Estate,
Crystal and Andrew Fry are qualified to bring the claims set forth beloW.

7. Defendant, United States of America, is the duly constituted and sovereign government
of the United States of America.

S. At all relevant times herein, Keystone Wornen’s Care (hereinafter “KWC”) was a
corporate medical facility With offices and facilities in Chambersburg, Franklin County,
Pennsylvania, and was part of the Keystone Rural Health Centers network.

9. At all relevant times herein, KWC is the facility where Crystal Fry had her prenatal
checkups with Thomas P. Omdorf, M.D., Yvette Brown, M.D., Asliley K. Lawson,
C.N.M., Darlanna Besecl<er, C.N.M. and other staff, all of whom were the agents,
apparent agents, servants and/or employees of KWC and Were acting within the course
and scope of their employment when providing medical services to Crystal Fry and her
child, Jade Elizabeth Fry.

10. At all relevant times herein, Dr. Omdorf, the delivery doctor, and the other medical
support staff who cared for or treated Mrs. Fry and her child, Jade, during her delivery
Were the agents, apparent agents, servants and/or employees of KWC and Were acting
Within the course and scope of their employment when providing medical services.

11. At all times mentioned in this complaint, KWC was, and now is, deemed an eligible

health center under the FTCA, and the employees and agents of KWC, including Dr.

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Omdorf, were acting Within the scope of their employment and with the permission and
consent of KWC.
On January 5, 2015, Plaintiffs submitted a claim with the Department of Health &
I-Iuman Services based on the allegations contained within this complaint seeking
$l,500,000.00 in damages Plaintiffs’ claim was denied on December 10, 2015. Plaintiffs
now timely file this complaint pursuant to 28 U.S.C. § 2401(b).

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ln 2014, Crystal Fry Was a twenty-four (24) year old female, whose previous pregnancy
history included two uneventful live births in November of 2008 and July of 2011
respectively The first birth was to a male weighing six pounds and ten ounces (Glb,
1002). The second birth was to a male weighing seven pounds (7lb).
With the pregnancy, which is the subject matter of this Complaint, Crystal Fry’s last
regular menstrual period was during December, 2013, and her due date was marked as
September 17', 2014.
Thereafter, Crystal Fry sought obstetrical care at KWC, with her first prenatal visit
occurring on or about February 7, 2014.
At this time, Crystal Fry’s weight was recorded at two hundred and two (202) pounds
With a blood pressure of 116/76.
Crystal Fry’s weight and blood pressure were identical at her last prenatal visit on August
27, 2014, two hundred and two (202) pounds with a blood pressure of 116/76.
Fetal ultrasounds were performed on April 28, 2014, May 9, 2014, May 23, 2014,

August 12, 2014, and August 19, 2014.

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Crystal Fry made approximately eighteen (18) visits to KWC between February of 2014
and August of 2014.

The first two trimesters of Crystal Fry’s pregnancy Were relatively uneventful; however,
complications began to appear during her third trimester.

On Mrs. Fry’s May 21, 2014, visit, increased anxiety and panic attacks were noted.

On Mrs. Fry’s June 20, 2014, visit, she had complaints of cramping and yellowish
vaginal discharge.

On Mrs. Fry’s July 8, 2014, visit, she had complaints of abdominal tightening, believed
she was having contractions, and reported losing her mucus plug.

On Mrs. Fry’s July 23, 2014, visit, irregular contractions were noted.

Again, On Mrs. Fry’s August 5, 2014, visit, a tightening sensation was reported.

On Mrs. Fry’s August 11, 2014, visit, she reported having two contractions that day.
Finally, on Mrs. Fry’s August 12, 2014, visit, she was diagnosed with polyhydramnios.
Additionally, Mrs. Fry’s August 12, 2014 ultrasound revealed that the umbilical cord was
wrapped around the baby’s neck.

On Mrs. Fry’s August 19, 2014, visit, her amniotic fluid index (“AFI”) was 31.5cm;
significantly higher than a normal AFI of 15 to 20cm.

On August 26, 2014, Mrs. Fry called KWC and reported leaking a Watery discharge
Despite all of these warning signs, no efforts were made to reduce the amount of amniotic
fluid prior to labor or to control and slow the release of amniotic fluid at the onset of
labor to prevent the risk of placental abruption.

Further, no recommendations Were made for a possible cesarean delivery or induction of

labor.

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l\/[rs. Fry awoke to her water breaking at approximately l:30am on August 31, 2014.
When Mrs. Fry’s water broke her increased amniotic fluid volume caused a placental
abruption which deprived the baby of oxygen and nutrients.

Mrs. Fry rushed to the Chambersburg hospital, arriving at or around 2:45am, and her
admission diagnosis included rupture of membranes and vaginal bleeding.

A bed side ultrasound revealed fetal heart tones in the 50s - much too low - and an
emergency caesarean section was performed by Dr. Orndorf.

Jade Elizabeth Fry was born without a pulse at 3:25am on August 31, 2014.

Jade Elizabeth Fry’s birth weight was five pounds and five ounces (Slbs & 502), and her

length was nineteen (19) inches.

39. The baby’s Apgars were 0, 0, and 0 at 1, 5, and 10 minutes, but the medical staff

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subsequently found her heartbeat after administering several doses of epinephrine.
Unfortunately, the baby had suffered too much trauma and died several hours later,`at
10:42am.

COUNT I - NEGLIGENCE AND MEDICAL MALPRACTICE
All prior paragraphs are incorporated herein as if set forth at length.
While Crystal Fry was in KWC’s prenatal care, KWC and its medical staff were fully
aware that Crystal Fry was suffering from severe polyhydramnios, which is likely to
cause placental abruption.
Yet, KWC and its medical staff negligently deviated from the standard of care by failing
to reduce Mrs. Fry’s AFI pre-labor via arnnioreduction or by any other method or induce

labor in a controlled setting to lower the risk of placental abruption.

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KWC and its medical staff also negligently deviated from the standard of care by failing
to give Crystal Fry medication to reduce her levels of amniotic fluid.

Instead, through its inaction, KWC and its medical staff negligently allowed Crystal Fry
to go into unsupervised labor while suffering from a known dangerous condition.

At no time prior to the delivery of Jade Elizabeth Fry did Dr. Omdorf or any other
medical staff member at KWC adequately plan for, consider, discuss or otherwise
properly evaluate the possibility of placental abruption caused by severe polyhydramnios
during labor even though it was a clear and distinct possibility

At no time prior to the delivery of Jade Elizabeth Fry did Dr. Omdorf or any other
medical staff member at KWC adequately plan for, consider, or discuss the need for
amnioreduction, amniotic fluid reducing medication, or inducing controlled and
supervised labor.

As a direct and proximate result of the negligence of KWC, their agents, apparent agents,
servant and/or employees, as alleged herein and incorporated by reference, Crystal Fry
and Jade Elizabeth Fry, faced an increased risk of harm from placental abruption during
childbirth, and a claim is made therefore.

The negligence and deviation from the standard of care by KWC and its staff was the
direct and proximate cause of the injuries and death suffered by Jade Elizabeth Fry, and a
claim is made therefore

As a direct an proximate result of the negligence of KWC and its staff, Jade Elizabeth Fry
suffered extensive pain and discomfort, impairment, permanent injury, and loss of life's

pleasures. The damages and injuries suffered by her continued until the time of her death.

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51. As a direct and proximate result of the negligence set forth herein, Plaintiffs, Crystal and
Andrew Fry, have incurred medical and psychological expenses and income losses on
behalf of their deceased minor daughter.

WHEREFORE, Plaintiffs, Crystal and Andrew Fry, individually and as the Administrators
of Jade Elizabeth Fry’s Estate respectfully request judgment in their favor and against Defendant,
United States of America, for all damages recoverable under law in an amount in excess of the
jurisdictional limit for federal arbitrations plus interest, costs of suit, and any other relief deemed
appropriate by the Court.

COUNT II - SURVIVAL

52. All prior paragraphs are incorporated herein as if set forth at length.

53. Plaintiffs bring this action on behalf of Jade Elizabeth Fry’s Estate pursuant to 20 Pa.
C.S.A. §3373 and 42 Pa. C.S. §8302.

54. As a direct and proximate result of the negligence of KWC and its staff as set forth
herein, Jade Elizabeth Fry died.

55.As a direct and proximate result of the negligence of the KWC and its staff, Jade
Elizabeth Fry suffered physical pain, mental anguish, emotional distress, discomfort, loss
of future earnings, social security, and other benefits, as well as loss of life's pleasures.

56. Crystal and Andrew Fry, as Administrators of the Estate of Jade Elizabetli Fry, make a
claim for damages described above in addition to all damages recoverable pursuant to
Pennsylvania law. n

WI'[EREFORE, Plaintiffs, Crystal and Andrew Fry, individually and as the Administrators

of Jade Elizabeth Fry’s Estate respectfully request judgment in their favor and against Defendant,

United States of America, for all damages recoverable under law in an amount in excess of the

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jurisdictional limit for federal arbitrations plus interest, costs of suit, and any other relief deemed

appropriate by the Court.

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COUNT III - WR()NGFUL DEATH

All prior paragraphs are incorporated herein as if set forth at length.

58. Crystal and Andrew Fry bring this action pursuant to 42 C.A. §8301 and Pa. R.C.P.

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§2202(a) as the personal representative of Jade Elizabeth Fry to recover for her wrongful
death.

Crystal and Andrew Fry, as Administrators of the Estate of Jade Elizabeth Fry, bring this
action for and on behalf of those persons entitled to recover damages in this action,
including Jade’s mother, Crystal Fry, and Jade’s father, Andrew Fry.

As a direct and proximate result of KWC and its staff’s negligence, as set forth herein,
the Plaintiffs have suffered, and KWC and its staff are liable for the following damages,
including funeral expenses of the Decedent, medical expenses related to the treatment
provided to the Decedent, expenses of administration related to the Decedent‘s Estate,
and Plaintiffs’ loss of contributions for support, care, and services which would have

been provided to their family

. Crystal and Andrew Fry, Administrators of the Estate of Jade Elizabeth Fry, make a

claim for damages described above in addition to all damages recoverable pursuant to the

law.

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WHEREFORE, Plaintiffs, Crystal and Andrew Fry, individually and as the Administrators
of Jade Elizabeth Fry’s Estate respectfully request judgment in their favor and against Defendant,
United States of America, for all damages recoverable under law in an amount in excess of the
jurisdictional limit for federal arbitrations plus interest, costs of suit, and any other relief deemed

appropriate by the Court.

Respectfully submitted,

  

R. J. MARZELLA & ASSOCIATES, P.C.

 

ar ell, Esquire
Attorney ldentification No. 66856

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